                                       United States Bankruptcy Court
                                            District of Arizona
In re:                                                                                 Case No. 18-03836-EPB
JOSEPH PAUL STONE, SR.                                                                 Chapter 13
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0970-2           User: stroude               Page 1 of 2                   Date Rcvd: Apr 26, 2018
                               Form ID: nch13pln           Total Noticed: 37


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Apr 28, 2018.
db             +JOSEPH PAUL STONE, SR.,    10619 W. SARATOGA CIR.,     SUN CITY, AZ 85351-1853
15002329       +ARIZONA DEPARTMENT OF REVENUE,     ATTENTION BK PAYMENT UNIT,    c/o 2005 N CENTRAL AVE, SUITE 100,
                 PHOENIX, AZ 85004-1546
15009352        Angela M. Bonds,    1501 E Crestview Dr,    Shelton, WA 98584-7964
14998019       +Arizona Department of Revenue,     Bankruptcy Dept, Ariz. Attorney General,     1275 W. Washington,
                 Phoenix, AZ 85007-2926
14998021        Associated Credit Services, Inc.,     PO Box 5171,    Westborough, MA 01581-5171
14998022       +Banner Health,    PO Box 52616,    Phoenix, AZ 85072-2616
14998023       +Banner Health/Carrie A. Beatty MD,     PO Box 52616,    Phoenix, AZ 85072-2616
14998024        Banner Health/Carrie A. Beatty MD,     PO Box 42008,    Phoenix, AZ 85080-2008
14984520       +Bureau Of Med Econcs,    326 E Coronado Rd,    Phoenix, AZ 85004-1524
14984521       +Chase,   Mail Code OH4-7302,     3415 Vision Drive,    Columbus, OH 43219-6009
14984522       +Clear Recon Corp,    1400 E Southern Ave, Ste 650,     Tempe, AZ 85282-8010
14998025        Dignity Health Arizona General Hospital,     PO Box 841365,    Dallas, TX 75284-1365
14984523        Dshs/dcs Olympia,    Po Box 11520,    Tacoma, WA 98411-5520
15009364       +Estate of Preston Stone,    c/o Joseph P. Stone,     10619 W. Saratoga Cir.,
                 Sun City, AZ 85351-1853
14998028      #+Honor Health,    5111 N Scottsdale Rd,    Scottsdale, AZ 85250-7076
14998027       +Honor Health,    PO Box 845633,    Los Angeles, CA 90084-5633
14984525        JPMorgan Chase Bank, NA,    Retail Loan Servicing KY2-1602,     PO Box 11606,
                 Lexington, KY 40576-1606
14998030        Julio A Marcolini MD PLLC,    PO Box 1369,    Sun City, AZ 85372-1369
15009373       +Lexington Law,    20620 N 19th Ave,    Phoenix, AZ 85027-3585
14984527        Maricopa County Treasurer,    301 West Jefferson, Ste 100,     Phoenix, AZ 85003-2199
14998031        National Medical Professionals,     PO Box 841407,    Dallas, TX 75284-1407
14984528       +New Penn Financial, LLC,    55 Beattie Pl, MS #100,     Greenville, SC 29601-2137
14984531       +Shellpoint Mortgage Servicing,     55 Beattie Place, Suite 110,    Greenville, SC 29601-5115
14984529       +Shellpoint Mortgage Servicing,     PO Box 10826,    Greenville, SC 29603-0826
14984530        Shellpoint Mortgage Servicing,     Loss Mitigation,    PO Box 51850,    Livonia, MI 48151-5850
14998033       +Sun City Imaging, PC,    8825 N Avenida Del Sol,     Paradise Valley, AZ 85253-2118
14998034       +Synergetic Communication, Inc.,     5450 N.W. Central #220,    Houston, TX 77092-2061
14984532        Td Auto Finance,    Po Box 9223,    Farmington Hills, MI 48333-9223
14998035       +United Collection Bureau, Inc.,     5620 Southwyck Blvd Ste 206,     Toledo, OH 43614-1501

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             E-mail/Text: bankruptcynotices@azdor.gov Apr 27 2018 00:23:10      AZ DEPARTMENT OF REVENUE,
                 BANKRUPTCY & LITIGATION,    1600 W. MONROE, 7TH FL.,   PHOENIX, AZ 85007-2650
14998020        E-mail/Text: bankruptcynotices@azdor.gov Apr 27 2018 00:23:10      Arizona Department of Revenue,
                 1600 W Monroe St,    Phoenix, AZ 85007-2650
14998026        E-mail/Text: bknotice@healthcareinc.com Apr 27 2018 00:24:49      Healthcare Coll I LLC,
                 PO Box 82910,   Phoenix, AZ 85071-2910
14984524       +E-mail/Text: bknotice@healthcareinc.com Apr 27 2018 00:24:49      Healthcare Coll I Llc,
                 2224 W Northern Ave Ste,    Phoenix, AZ 85021-4928
14998029        E-mail/Text: cio.bncmail@irs.gov Apr 27 2018 00:23:35      Internal Revenue Service,
                 Centralized Insolvency Operation,    P.O. Box 7346,   Philadelphia, PA 19101-7346
14984526       +E-mail/Text: bnckohlsnotices@becket-lee.com Apr 27 2018 00:23:23      Kohls/capone,
                 N56 W 17000 Ridgewood Dr,    Menomonee Falls, WI 53051-7096
14998032        E-mail/Text: bankruptcy@sdil.net Apr 27 2018 00:24:49      Southwest Diagnostic Imaging,
                 2323 W. Rose Garden Ln.,    Phoenix, AZ 85027-2530
15009381        E-mail/Text: appebnmailbox@sprint.com Apr 27 2018 00:23:53      Sprint,   KSOPHT0101-Z4300,
                 6391 Sprint Parkway,    Overland Park, KS 66251-4300
                                                                                             TOTAL: 8

            ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
15009353*       +Arizona Department of Revenue,     Bankruptcy Dept, Ariz. Attorney General,   1275 W. Washington,
                  Phoenix, AZ 85007-2926
15009354*        Arizona Department of Revenue,     1600 W Monroe St,   Phoenix, AZ 85007-2650
15009355*        Associated Credit Services, Inc.,     PO Box 5171,   Westborough, MA 01581-5171
15009356*       +Banner Health,    PO Box 52616,    Phoenix, AZ 85072-2616
15009358*        Banner Health/Carrie A. Beatty MD,     PO Box 42008,   Phoenix, AZ 85080-2008
15009357*       +Banner Health/Carrie A. Beatty MD,     PO Box 52616,   Phoenix, AZ 85072-2616
15009359*       +Bureau Of Med Econcs,    326 E Coronado Rd,    Phoenix, AZ 85004-1524
15009360*       +Chase,   Mail Code OH4-7302,    3415 Vision Drive,    Columbus, OH 43219-6009
15009361*       +Clear Recon Corp,    1400 E Southern Ave, Ste 650,    Tempe, AZ 85282-8010
15009362*        Dignity Health Arizona General Hospital,     PO Box 841365,   Dallas, TX 75284-1365
15009363*        Dshs/dcs Olympia,    Po Box 11520,    Tacoma, WA 98411-5520
15009366*        Healthcare Coll I LLC,    PO Box 82910,    Phoenix, AZ 85071-2910
15009365*       +Healthcare Coll I Llc,    2224 W Northern Ave Ste,    Phoenix, AZ 85021-4928
15009367*       +Honor Health,   PO Box 845633,     Los Angeles, CA 90084-5633
15009368*       +Honor Health,   5111 N Scottsdale Rd,     Scottsdale, AZ 85250-7076
15009369*        Internal Revenue Service,    Centralized Insolvency Operation,    P.O. Box 7346,
                  Philadelphia, PA 19101-7346
15009370*        JPMorgan Chase Bank, NA,    Retail Loan Servicing KY2-1602,    PO Box 11606,
                  Lexington, KY 40576-1606
       Case 2:18-bk-03836-EPB Doc 12 Filed 04/26/18 Entered 04/28/18 21:52:35                         Desc
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                                      Form ID: nch13pln                  Total Noticed: 37


             ***** BYPASSED RECIPIENTS (continued) *****
15009371*         Julio A Marcolini MD PLLC,    PO Box 1369,   Sun City, AZ 85372-1369
15009372*        +Kohls/capone,    N56 W 17000 Ridgewood Dr,   Menomonee Falls, WI 53051-7096
15009374*         Maricopa County Treasurer,    301 West Jefferson, Ste 100,    Phoenix, AZ 85003-2199
15009375*         National Medical Professionals,    PO Box 841407,    Dallas, TX 75284-1407
15009376*        +New Penn Financial, LLC,    55 Beattie Pl, MS #100,    Greenville, SC 29601-2137
15009377*        +Shellpoint Mortgage Servicing,    PO Box 10826,    Greenville, SC 29603-0826
15009379*        +Shellpoint Mortgage Servicing,    55 Beattie Place, Suite 110,    Greenville, SC 29601-5115
15009378*         Shellpoint Mortgage Servicing,    Loss Mitigation,    PO Box 51850,    Livonia, MI 48151-5850
15009380*         Southwest Diagnostic Imaging,    2323 W. Rose Garden Ln.,    Phoenix, AZ 85027-2530
15009382*        +Sun City Imaging, PC,    8825 N Avenida Del Sol,    Paradise Valley, AZ 85253-2118
15009383*        +Synergetic Communication, Inc.,    5450 N.W. Central #220,    Houston, TX 77092-2061
15009384*         Td Auto Finance,    Po Box 9223,   Farmington Hills, MI 48333-9223
15009385*        +United Collection Bureau, Inc.,    5620 Southwyck Blvd Ste 206,     Toledo, OH 43614-1501
                                                                                                TOTALS: 0, * 30, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Apr 28, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 26, 2018 at the address(es) listed below:
              KELLY G. BLACK   on behalf of Debtor JOSEPH PAUL STONE, SR. kgb@kellygblacklaw.com,
               kgb@ecf.inforuptcy.com,kellygblackplc@gmail.com,r58089@notify.bestcase.com
              RUSSELL BROWN    ecfmailclient@ch13bk.com
              U.S. TRUSTEE   USTPRegion14.PX.ECF@USDOJ.GOV
                                                                                            TOTAL: 3




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FORM nch13pln
REVISED 12/01/2009



                                UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF ARIZONA

In re:                                                       Case No.: 2:18−bk−03836−EPB

    JOSEPH PAUL STONE SR.                                    Chapter: 13
    10619 W. SARATOGA CIR.
    SUN CITY, AZ 85351
    SSAN: xxx−xx−3239
    EIN:

Debtor(s)


                        NOTICE OF DATE TO FILE OBJECTION TO CHAPTER 13 PLAN
                                OR MOTION FOR MORATORIUM ON PLAN PAYMENTS

    Notice is hereby given that the Debtor(s) have filed the enclosed or attached Chapter 13 Plan or Motion for
Moratorium on Plan Payments. Pursuant to Local Rules 2084−9 and 2084−10, plan or motion confirmation is
governed by the following procedures:

1. Any objection by a creditor to the Plan or Motion must be in writing and filed with the Bankruptcy Court, and
copies served on the following parties no later than 14 days after the date set for the meeting of creditors or 28 days
after service, whichever is later:
Address of the Bankruptcy Clerk's Office                         U.S. Bankruptcy Court, Arizona
                                                                 230 North First Avenue, Suite 101
                                                                 Phoenix, AZ 85003−1727

Address of Trustee                                               RUSSELL BROWN
                                                                 CHAPTER 13 TRUSTEE
                                                                 SUITE 800
                                                                 3838 NORTH CENTRAL AVENUE
                                                                 PHOENIX, AZ 85012−1965

Address of Debtor(s)                                             JOSEPH PAUL STONE SR.
                                                                 10619 W. SARATOGA CIR.
                                                                 SUN CITY, AZ 85351



Address of Debtor(s) Attorney                                    KELLY G. BLACK
                                                                 Kelly G. Black, PLC
                                                                 1152 E Greenway St, Ste 4
                                                                 Mesa, AZ 85203−4360


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2.   The Trustee is to file a Recommendation within 28 days after the above date for creditor objections.

3. If creditors file no objections and the Trustee recommends confirmation or approval, the Court may confirm the
Plan or grant the Motion without a hearing.

4. If a creditor files an objection and/or the Trustee does not recommend confirmation or approval, the Court may
confirm a plan without a hearing, provided the Trustee and all objecting creditors agree to a stipulated confirmation
order. If unable to so agree and stipulate, the Trustee or objecting creditor shall set the matter for hearing and provide
notice to the Debtor(s) and each objecting party.

5. For an original plan, the failure of a party in interest to timely file an objection to confirmation of the Plan
or the granting of a motion for a moratorium shall constitute acceptance of the Plan pursuant to 11 U.S.C.
Section 1325(a)(5)(A), and a waiver of the requirement under Section 1324 that the Court hold a confirmation
hearing within 45 days after the date of the meeting of creditors.



Date: April 26, 2018

Address of the Bankruptcy Clerk's Office:                     Clerk of the Bankruptcy Court:
U.S. Bankruptcy Court, Arizona
230 North First Avenue, Suite 101                             George Prentice
Phoenix, AZ 85003−1727
Telephone number: (602) 682−4000
www.azb.uscourts.gov




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